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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                              )
                                    )                       CHAPTER 7
NEXXLINX CORPORATION, INC., et al 1 )
                                    )                       CASE NO 16-61225-pmb
                                    )                       Jointly Administered Cases
              Debtor.               )
                                    )
TAMARA MILES OGIER AS CHAPTER )
7 TRUSTEE,                          )
                                    )
      Plaintiff,                    )                       ADVERSARY PROCEEDING
                                    )                       NO. 18-05131-pmb
CENTURY LINK SALES SOLUTIONS,       )
INC.,                               )
                                    )
      Defendant.                    )

                                     CERTIFICATE OF SERVICE

         This is to certify that on October 22, 2018, a true and correct copy of the PLAINTIFF'S

REQUESTS FOR ADMISSION, FIRST SET OF INTERROGATORIES TO DEFENDANT, AND

REQUESTS FOR PRODUCTION were served upon the following party by U.S. Mail, first class,

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                                           OGIER, ROTHSCHILD & ROSENFELD, P.C.

                                           By:     /s/ Allen P. Rosenfeld
                                                   Allen P. Rosenfeld
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 All of the Debtors include NexxLinx Corporation, Inc., Case No. 16-61225; NexxLinx Global, Inc., Case No. 16-
61233; NexxLinx of New York, Inc., Case No. 16-61234; NexxLinx of Texas, Inc., Case No. 16-61236;
CustomerLinx of North Carolina, Inc., Case No. 16-61229, Microdyne Outsourcing Inc., Case No. 16-61231 and
NexxPhase, Inc. 16-62269.
